                     Case 1:21-cr-00175-TJK Document 859-2 Filed 08/17/23 Page 1 of 5
  From: +
  To: zrehl
  To:
  To:
  To:

  Of course bigots = bad

     Participant         Delivered           Read               Played
     zrehl                                   1/6/2021
                                             1:38:20
                                             PM(UTC-5)




  Status:: Read

                                                    1/6/2021 1:37:34 PM(UTC-5)


Source Extraction:
Legacy
Source Info:
00008030-000478AA26F9802E_files_partial-afu.zip/private/var/mobile/Library/SMS/sms.db :
0xB0586EE (Table: message, handle, chat, Size: 303693824 bytes)




  From: +
  To: zreh
  To:
  To:
  To:
  Burn a church and you're good

     Participant         Delivered           Read               Played
     zrehl                                   1/6/2021
                                             1:38:20
                                             PM(UTC-5)




  Status:: Read

                                                    1/6/2021 1:37:59 PM(UTC-5)


Source Extraction:
Legacy
Source Info:
00008030-000478AA26F9802E_files_partial-afu.zip/private/var/mobile/Library/SMS/sms.db :
0xB0584A6 (Table: message, handle, chat, Size: 303693824 bytes)




                                                                                          901
                     Case 1:21-cr-00175-TJK Document 859-2 Filed 08/17/23 Page 2 of 5
                                                                                            From: zrehl
                                                                                            To:
                                                                                            To:
                                                                                            To:
                                                                                            To:

                                                                                            Civil war started

                                                                                               Participant         Delivered           Read               Played




                                                                                            Status:: Sent

                                                                                                                                              1/6/2021 2:29:07 PM(UTC-5)


                                                                                          Source Extraction:
                                                                                          Legacy
                                                                                          Source Info:
                                                                                          00008030-000478AA26F9802E_files_partial-afu.zip/private/var/mobile/Library/SMS/sms.db :
                                                                                          0xB05A843 (Table: message, chat, handle, Size: 303693824 bytes)




  From: +
  To: zrehl
  To:
  To:
  To:

  they said capital is on lockdown

     Participant         Delivered           Read               Played
     zreh                                    1/6/2021
                                             2:35:15
                                             PM(UTC-5)




  Status: Read

                                                    1/6/2021 2:30:04 PM(UTC-5)


Source Extraction:
Legacy
Source Info:
00008030-000478AA26F9802E_files_partial-afu.zip/private/var/mobile/Library/SMS/sms.db :
0xB05BF66 (Table: message, handle, chat, Size: 303693824 bytes)




                                                                                                                                                                                    902
                     Case 1:21-cr-00175-TJK Document 859-2 Filed 08/17/23 Page 3 of 5
  From: +
  To: zrehl
  To:
  To:
  To:

  Haha I just saw

     Participant         Delivered           Read               Played
     zreh                                    1/6/2021
                                             2:35:15
                                             PM(UTC-5)




  Status:: Read

                                                    1/6/2021 2:30:18 PM(UTC-5)


Source Extraction:
Legacy
Source Info:
00008030-000478AA26F9802E_files_partial-afu.zip/private/var/mobile/Library/SMS/sms.db :
0xB05BD0A (Table: message, handle, chat, Size: 303693824 bytes)




                                                                                            From: zreh
                                                                                            To:
                                                                                            To:
                                                                                            To:
                                                                                            To:
                                                                                            Nah its not locked down no more

                                                                                               Participant         Delivered           Read               Played




                                                                                            Status: Sent

                                                                                                                                              1/6/2021 2:35:35 PM(UTC-5)


                                                                                          Source Extraction:
                                                                                          Legacy
                                                                                          Source Info:
                                                                                          00008030-000478AA26F9802E_files_partial-afu.zip/private/var/mobile/Library/SMS/sms.db :
                                                                                          0xB05C58C (Table: message, chat, handle, Size: 303693824 bytes)




                                                                                                                                                                                    903
                     Case 1:21-cr-00175-TJK Document 859-2 Filed 08/17/23 Page 4 of 5
                                                                                            From
                                                                                            To:
                                                                                            To:
                                                                                            To:
                                                                                            To:

                                                                                            People are inside now

                                                                                               Participant         Delivered           Read               Played




                                                                                            Status:: Sent

                                                                                                                                              1/6/2021 2:36:33 PM(UTC-5)


                                                                                          Source Extraction:
                                                                                          Legacy
                                                                                          Source Info:
                                                                                          00008030-000478AA26F9802E_files_partial-afu.zip/private/var/mobile/Library/SMS/sms.db :
                                                                                          0xB05D3A4 (Table: message, chat, handle, Size: 303693824 bytes)




  From:
  To: zrehl




  Hahaha 6 pm curfew

     Participant         Delivered           Read               Played
     zrehl                                   1/6/2021
                                             2:37:52
                                             PM(UTC-5)




  Status: Read

                                                    1/6/2021 2:37:42 PM(UTC-5)


Source Extraction:
Legacy
Source Info:
00008030-000478AA26F9802E_files_partial-afu.zip/private/var/mobile/Library/SMS/sms.db :
0xB05EF66 (Table: message, handle, chat, Size: 303693824 bytes)




                                                                                                                                                                                    904
                     Case 1:21-cr-00175-TJK Document 859-2 Filed 08/17/23 Page 5 of 5
                                                                                            From: zrehl




                                                                                            This is insane

                                                                                               Participant         Delivered           Read               Played




                                                                                            Status:: Sent

                                                                                                                                              1/6/2021 2:42:38 PM(UTC-5)


                                                                                          Source Extraction:
                                                                                          Legacy
                                                                                          Source Info:
                                                                                          00008030-000478AA26F9802E_files_partial-afu.zip/private/var/mobile/Library/SMS/sms.db :
                                                                                          0xB05E9E5 (Table: message, chat, handle, Size: 303693824 bytes)




  From:
  To: zrehl
  To:
  To:
  To:
  Attachments:




   Title: IMG_3977.jpg
   Size: 607857
   File name: ~/Library/SMS/Attachments/95/05/ECB0AE44-B1F0-4FD2-B23C-
   FF867B213AD4/IMG_3977.jpg
   ~/Library/SMS/Attachments/95/05/ECB0AE44-B1F0-4FD2-B23C-
   FF867B213AD4/IMG_3977.jpg

  To


       Participant       Delivered           Read               Played
       zrehl                                 1/6/2021
                                             2:47:47
                                             PM(UTC-5)




  Status:: Read

                                                    1/6/2021 2:44:52 PM(UTC-5)


Source Extraction:
Legacy
Source Info:
00008030-000478AA26F9802E_files_partial-afu.zip/private/var/mobile/Library/SMS/sms.db :
0xB05E7B0 (Table: message, handle, attachment, chat, Size: 303693824 bytes)
00008030-000478AA26F9802E_files_partial-
afu.zip/private/var/mobile/Library/SMS/Attachments/95/05/ECB0AE44-B1F0-4FD2-B23C-
FF867B213AD4/IMG_3977.jpg : (Size: 607857 bytes)




                                                                                                                                                                                    905
